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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :       CASE NO. 3:18-CR-97
                                            :
             v.                             :       (Judge Mariani)
                                            :
ROSS ROGGIO                                 :
    Defendant                               :       (electronically filed)



             ROGGIO’S MOTION TO SUPPLEMENT EXHIBITS
              IN SUPPORT OF MOTION FOR REVOCATION
                     OF THE DETENTION ORDER


      Now comes the Defendant, Ross Roggio, by his attorney, Gino Bartolai,

Esquire, and files the following Motion to Supplement Exhibits in support of his

Motion for Revocation of the Detention Order and in support thereof avers the

following:

      1. On February 27, 2022, Roggio filed a Motion to Revoke the Detention

Order issued by Magistrate Judge Joseph F. Saporito on February 17, 2022.

Roggio attached to his motion Defendant’s Exhibits 1-4.

      2. The Government filed its response to Roggio’s Motion to Revoke the

Detention Order on March 2, 2022.

      3. On March 3, 2022, Roggio filed a reply to the Government’s response

and attached thereto Defendant’s Exhibit 5 and 6.
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      4. Roggio is hereby seeking to supplement his exhibits in support of his

Motion to Revoke the Detention Order with the addition of the attached

Defendant’s Exhibits 7, 8, and 9.

      5. The undersigned counsel has discussed the substance of the within

motion with Assistant United States Attorney Todd K. Hinkley who advises that

he concurs in the within motion.

      WHEREFORE, the Defendant, Ross Roggio, respectfully requests that this

Honorable Court consider the attached Defendant Exhibits 7, 8, and 9, in support

of his Motion to Revoke the Detention Order.



                                     Respectfully submitted,




Date: March 12, 2022                 s/Gino Bartolai, Esquire
                                     Gino Bartolai, Esquire
                                     Attorney ID# PA 56642

                                     238 William Street
                                     Pittston, Pennsylvania 18640
                                     (570) 654-3572
                                     E-mail: Bartolai@ptd.net
                                     Attorney for Ross Roggio
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                    CERTIFICATE OF CONCURRENCE

      I, Gino Bartolai, Esquire, certify that on this date I contacted Todd. K.

Hinkley, Assistant United States Attorney, who advised that he does concur in the

within Motion to Supplement Exhibits.



      Date: March 12, 2022                   s/Gino Bartolai
                                             Gino Bartolai, Esquire
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                         CERTIFICATE OF SERVICE


      I, Gino Bartolai, Esquire, do hereby certify that I electronically served, via

e-mail, a copy of the foregoing Motion to Supplement Exhibits, to the following

                   Todd K. Hinkley, Esquire
                   Assistant United States Attorney

and by placing the same in the United States mail, first class, postage prepaid, at

Scranton, Pennsylvania, addressed to the following:

                   Ross Roggio



Date: March 12, 2022                          s/Gino Bartolai
                                              Gino Bartolai, Esquire
